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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE
*******************************
John Doe,                        *
      Plaintiff,                 *
v.                               *
                                 *                   Case No. 1:21-CV-00944-JL
                                 *
Town of Lisbon and New Hampshire *
Department of Justice,           *
      Defendants.                *
                                 *
*******************************

     NEW HAMPSHIRE DEPARTMENT OF JUSTICE’S REPLY TO PLAINTIFF’S
                 OBJECTION TO MOTION TO DISMISS

          Defendant New Hampshire Department of Justice, by and through the New Hampshire

Office of the Attorney General, hereby replies to Plaintiff’s Objection to Defendant’s Motion to

Dismiss. As set forth below, the New Hampshire legislature did not waive the State of New

Hampshire’s Eleventh Amendment immunity from suits filed in federal courts when it enacted

RSA 105:13-d.

      1.        Under the Eleventh Amendment, a state is immune from suits brought in federal

court by its own citizens or the citizens of other states. Edelman v. Jordan, 415 U.S. 651, 662-63

(1974) (internal citations omitted). While a state can waive Eleventh Amendment immunity

through legislation, such a waiver shall only be given effect “where stated by the most express

language or by such overwhelming implication from the text as [will] leave no room for any

other reasonable construction.” Port Auth. Trans-Hudson Corp. v. Feeney, 495 U.S. 299, 305

(1990).

      2.        A state may waive its immunity from suit in its own courts without waiving

Eleventh Amendment immunity from suit in federal court. Smith v. Reeves, 178 U.S. 436, 440-41

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(1900); Great Northern Life. Ins. Co. v. Read, 322 U.S. 47, 53-56 (1944). Indeed, a waiver of

sovereign immunity will only be applicable to suits in state courts unless the waiver “specif[ies]

the State’s intention to subject itself to suit in federal court.” Port Auth. Trans-Hudson Corp.,

495 U.S. at 305 (citing Atascadero State Hospital v. Scanlon, 473 U.S. 234, 241 (1985)).

Ambiguous and general waivers of sovereign immunity, without a clear indication that a State

intended to subject itself to suit in federal court, are insufficient to waive Eleventh Amendment

immunity. Id. at 306.

       3.       The language of RSA 105:13-d allows individuals on the exculpatory evidence

schedule to file suit in state superior court regarding their placement on the schedule. N.H. Rev.

Stat. Ann. § 105:13-d, II(a). Further on, in the same section, the statute requires such a suit to

name as a party the law enforcement agency that recommended the placement and, if any claims

seek an order finding that the underlying misconduct is not potentially exculpatory, the

department of justice. Id. § 105:13-d, II(c).

       4.       The statute does not expressly waive the state’s Eleventh Amendment immunity

in federal courts. The statute refers only to the state’s superior courts. The requirement to name

the Department of Justice in section II(c) refers to the suits in state superior court contemplated

in section II(a).

       5.       The statute not only lacks express language waiving immunity in federal courts

but specifically designates the state superior courts as the forum for such suits. The New

Hampshire legislature accordingly did not waive the state’s Eleventh Amendment immunity

when it entacted RSA 105:13-d.

       6.       With respect to the Plaintiff’s alternative argument, the Department of Justice

reiterates its view that claims seeking removal from the exculpatory evidence schedule should



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proceed in state superior court. The Department of Justice takes no position on the proper vehicle

to effectuate that result, whether it be remand, severance, or dismissal without prejudice. The

Department of Justice anticipates addressing this question with the Court at the February 10,

2022 preliminary pretrial conference.

                                             Respectfully Submitted,

                                             NEW HAMPSHIRE DEPARTMENT OF JUSTICE

                                             By its attorney,

                                             JOHN M. FORMELLA
                                             ATTORNEY GENERAL


Date: February 10, 2022                      /s/Samuel Garland
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all parties of record through

the CM/ECF system

                                             /s/Samuel Garland
                                             Samuel R.V. Garland




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